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5    DEBORAH STRAITER
6
                   IN THE UNITED STATES DISTRICT COURT
7                    CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION
8

9
     DEBORAH STRAITER,                    ) Case No.: 2:18-cv-4839
10                                        )
                                          ) COMPLAINT AND DEMAND FOR
11              Plaintiff.                ) JURY TRIAL
                                          )
12        v.                              )   1. Violations of the Telephone
                                          )      Consumer Protection Act, 47
13                                        )      U.S.C. § 227
     COMENITY BANK,                       )   2. Violations of the Rosenthal
14                                        )      Fair Debt Collection Practices
                                          )      Act, Cal. Civ. Code §1788
15              Defendant.                )
                                          )
16

17        DEBORAH STRAITER (Plaintiff), by her attorneys, WESTGATE LAW,
18   alleges the following against COMENITY BANK (Defendant):
19                                INTRODUCTION
20     1. Count I of Plaintiff’s Complaint is based on the Telephone Consumer
21        Protection Act, 28 U.S.C. § 227 et seq. (TCPA).
22     2. Count II of the Plaintiff’s Complaint is based on the Rosenthal Fair Debt
23        Collection Practices Act, Cal. Civ. Code §1788 et seq. (RFDCPA).
24

25




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                             JURISDICTION AND VENUE
1
       3. Jurisdiction of this Court over Plaintiff’s Complaint arises pursuant arises
2
          pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise under the laws of the
3
          United States, and this Court maintains supplemental jurisdiction over the
4
          state law claims alleged herein.
5
       4. Defendant conducts business in the State of California thereby establishing
6
          personal jurisdiction.
7
       5. Venue is proper pursuant to 28 U.S.C. § 1391(b) because the acts and
8
          transactions alleged in this Complaint occurred here, Plaintiff resides here,
9
          and Defendant transacts business here.
10
                                           PARTIES
11
       6. Plaintiff is a natural person residing in Los Angeles County, California.
12
          Plaintiff is a natural person from whom a debt collector seeks to collect a
13
          consumer debt which is due and owing or alleged to be due and owing.
14
       7. Defendant is a business entity with a principal place of business in Columbus,
15
          Ohio. Defendant regularly, on behalf of itself or others, engages in debt
16
          collection throughout the state of California.
17
       8. Defendant acted through its agents, employees, officers, members, directors,
18
          heirs, successors, assigns, principals, trustees, sureties, subrogees,
19
          representatives, and insurers.
20
                              FACTUAL ALLEGATIONS
21
       9. In 2018, and specifically within one (1) year prior to the commencement of
22
          the present action, Defendant contacted Plaintiff to collect money, property
23
          or their equivalent, due or owing or alleged to be due or owing.
24
       10.Plaintiff’s alleged debt arises from transactions for personal, family, and
25




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1         household purposes made on consumer credit accounts issued by Defendant.
2      11.In 2018, and specifically within one (1) year prior to the commencement of
3         the present action, Defendant constantly and continuously placed collection
4         calls to Plaintiff at Plaintiff’s cellular telephone number ending in 3471 and
5         Plaintiff’s home phone ending in 0238.
6      12.Defendant placed collection calls from numbers including, but not limited to,
7         (614) 212-5295 and (303) 255-5347.
8      13.On several occasions, Defendant placed calls to Plaintiff that showed up on
9         Plaintiff’s caller identification as “unknown.”
10     14.On several occasions, Plaintiff received artificial and/or prerecorded
11        voicemail messages from Defendant.
12     15. On several occasions, including but not limited to March 2, 2018, Plaintiff
13        spoke with Defendant’s representatives, informed Defendant’s representative
14        that she could not pay the alleged debt, and requested that Defendant cease
15        placing any further calls.
16     16.Despite Plaintiff’s requests to cease calling, Defendant communicated with
17        Plaintiff with such frequency as to be unreasonable under the circumstances
18        by placing multiple calls per day to Plaintiff’s cellular telephone on a daily
19        basis.
20     17.Upon information and belief, Plaintiff alleged that Defendant placed
21        approximately one hundred (100) autodialed collection calls to Plaintiff’s
22        cellular telephone and home phone despite Plaintiff’s repeated requests to
23        cease.
24     18.At all times relevant to this action, while conducting business in California,
25        Defendant has been subject to, and required to abide by, the laws of the



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1         United States, which included the TCPA and its related regulations that are
2         set forth at 47 C.F.R. § 64.1200 (“TCPA Regulations”), as well as the
3         opinions, regulations and orders issued by the courts and the FCC
4         implementing, interpreting and enforcing the TCPA and the TCPA
5         regulations.
6      19.At all times relevant to this action, Defendant owned, operated and or
7         controlled an “automatic telephone dialing system” as defined by TCPA 47
8         U.S.C.    §    227(a)(1)    that     originated,   routed   and/or   terminated
9         telecommunications.
10     20.Within four years prior to the filing of this action, Defendant called Plaintiff
11        at Plaintiff’s cellular telephone using equipment which has the capacity to
12        store or produce telephone numbers to be called, using random or sequential
13        number generator and to dial such numbers, also known as an “automatic
14        telephone dialing system” as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and
15        (B).
16     21.Within four years prior to the filing of this action, Defendant called Plaintiff
17        at Plaintiff’s cellular telephone using an artificial or prerecorded voice.
18     22.Defendant never received Plaintiff’s consent to call Plaintiff on Plaintiff’s
19        cellular telephone using an “automatic telephone dialing system” or an
20        “artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(1).
21     23.Even assuming arguendo that Defendant did have consent to call Plaintiff on
22        Plaintiff’s cellular telephone using an ATDS, that consent was subsequently
23        revoked by Plaintiff on multiple occasions.
24     24.At no time have Plaintiff and Defendant had an “established business
25        relationship” as defined by 47 U.S.C. § 227(a)(2).



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1      25.Defendant is not a tax exempt nonprofit organization.
2      26.Defendant’s violation of the TCPA was willful because Defendant continued
3
          to place repeated and continuous phone calls to Plaintiff despite Plaintiff’s
          clear requests to cease.
4

5                             FIRST CAUSE OF ACTION
6                       (Violations of the TCPA, 47 U.S.C. § 227)
       27.Plaintiff incorporates by reference the above paragraphs of this Complaint as
7
          though fully stated herein.
8
       28. Defendant violated the TCPA. Defendant’s violations include, but are not
9
          limited to the following
10
          (a)    Within four years prior to the filing of this action, on multiple
11               occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)
12               which states in pertinent part, “It shall be unlawful for any person
13               within the United States . . . to make any call (other than a call made
14
                 for emergency purposes or made with the prior express consent of the
                 called party) using any automatic telephone dialing system or an
15
                 artificial or prerecorded voice — to any telephone number assigned to
16
                 a . . . cellular telephone service . . . or any service for which the called
17
                 party is charged for the call.
18
          (b)    Within four years prior to the filing of this action, on multiple
19               occasions, Defendant willfully and/or knowingly contacted Plaintiff at
20               Plaintiff’s cellular telephone using an artificial prerecorded voice or an
21               automatic telephone dialing system and as such, Defendant knowing

22
                 and/or willfully violated the TCPA.
       29.As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
23
          to an award of five hundred dollars ($500.00) in statutory damages, for each
24
          and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
25
          that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is



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1          entitled to an award of one thousand five hundred dollars ($1,500.00), for each
2
           and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
           227(b)(3)(C).
3
        30.Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
4
           the future.
5
                            SECOND CAUSE OF ACTION
6
        (Violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ.
7
                                         Code §1788)
8
        31.Plaintiff repeats and realleges the allegations in Count I of Plaintiff’s
9
           Complaint as the allegations in Count II of Plaintiff’s Complaint.
10
        32.Defendant violated the RFDCPA based on the following:
11
              a. Defendant violated §1788.11(d) of the RFDCPA by causing a
12
                  telephone to ring repeatedly or continuously to annoy the person
13
                  called;
14
              b. Defendant violated §1788.11(e) of the RFDCPA by communicating,
15
                  by telephone or in person, with the debtor with such frequency as to be
16
                  unreasonable and to constitute an harassment to the debtor under the
17
                  circumstances;
18
              c. Defendant violated §1788.17 of the RFDCPA by continuously failing
19
                  to comply with the statutory regulations contained within the FDCPA,
20
                  15 U.S.C. § 1692.
21
                            PRAYER FOR RELIEF
22
           WHEREFORE, Plaintiff respectfully requests that judgment be entered
23   against Defendant for the following:
24

25




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1          (a)   An injunction prohibiting Defendant from contacting Plaintiff on
2
                 Plaintiff’s cellular telephone using an automated dialing system
                 pursuant to 47 U.S.C. § 227(b)(3)(A); and
3
          (b)    As a result of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff
4
                 is entitled to and requests five hundred dollars ($500.00) in statutory
5
                 damages, for each and every violation, pursuant to 47 U.S.C. §
6
                 227(b)(3)(B); and
7         (c)    As a result of Defendant’s willful and/or knowing violations of 47
8                U.S.C. § 227(b)(1), Plaintiff is entitled to and requests treble damages,
9                as provided by statute, up to one thousand five hundred dollars

10
                 ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
                 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and
11
          (d)    Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
12
                 Collection Practices Act, Cal. Civ. Code §1788.30(b); and
13
          (e)    Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair
14
                 Debt Collection Practices Act, Cal. Civ Code § 1788.30(c); and
15
           (f)   Awarding Plaintiff any pre-judgment and post-judgment interest as
16
                 may be allowed under the law; and
17
          (g)    For such other and further relief as the Court may deem just and proper.
18

19   Date: May 31, 2018                    RESPECTFULLY SUBMITTED,
20
                                           By:/s/ Matthew A. Rosenthal
21
                                                  Matthew A. Rosenthal
                                                  Attorney for Plaintiff,
22
                                                  DEBORAH STRAITER

23

24

25




                                         COMPLAINT
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